                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI


GUADALUPE ADAMS, Individually,           :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :              Case No. 6:16-cv-3273
                                         :
PRIME STAR, LLC.                         :
A Domestic Limited Liability Company     :
             Defendant                   :
_______________________________________/ :

                              JOINT STIPULATION OF
                    FULL AND FINAL DISMISSAL WITH PREJUDICE

Plaintiff, Guadalupe Adams (“Plaintiff”) and Defendant, Prime Star, LLC. (“Defendant”), by and

through their undersigned counsel, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

stipulate to the voluntary dismissal with prejudice of the above captioned matter.

1. All of Plaintiff’s claims in this Lawsuit are hereby dismissed with prejudice.

2. Each party shall bear its own attorneys’ fees, expert fees, litigation expenses and costs

incurred in litigating these claims except as otherwise agreed to in writing among the

parties.

Dated: December 8, 2016

By: _/s/ Pete M. Monismith___                      By: _/s/ David A. Healy
 Pete M. Monismith, Esq.                           David A. Healy MO Bar 54631
 Pete M. Monismith, P.C.                           119 North Second Street
 3945 Forbes Ave., #175                            P.O. Box 158
 Pittsburgh, PA 15213                              Ozark, MO 65721
 ph. (724) 610-1881                                Telephone: (417) 581-2411
 pete@monismithlaw.com                             Facsimile: (417) 581-2447
                                                   Email: info@applebyhealy.com
 Attorney for Plaintiff
                                                   Attorney for Defendant




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